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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                                                            Nov' 6
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                           MISSOULA DIVISION          Cfelf(       20/Q ., (Jr_.
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UNITED STATES OF AMERICA,                            CR-13-30-M-DWM

                     Plaintiff,

       vs.                                                  ORDER

PAUL WENCEWICZ, SCOTT
LONG, STEVE HUMISTON,
PHILLIP MORRIS, TONY
BRONSON, JEFFREY WOOLEY,
CHARLES CROSBY, JOHN
JOHNSON, JOSEPH PURIFICATO,
JEFFREY NOENING, IAN NOSEK,
JOSHUA PETERSEN, STEVEN
GROVO, and ROBERT KRISE,

                     Defendants.


      On June 23, 2016, the United States Court of Appeals for the Ninth Circuit

issued an opinion in this case vacating the restitution order and remanding to

allow for disaggregation of the portion of the victim's losses consistent with the

rule announced in United States v. Galan, 804 F.3d 1287 (9th Cir. 2015). United

States v. Grovo, 826 F.3d 1207 (9th Cir. 2016); see also Doc. 806. On July 5,

2016, the United States informed this Court that the only victim to receive

restitution in this case has withdrawn her request for restitution, and that no further

restitution will be sought. (Doc. 809.) On October 7, 2016, the Mandate was
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issued. (Doc. 812.)

      IT IS ORDERED that the Clerk of Court is directed to notify the Bureau of

Prisons that the Ninth Circuit Court of Appeal has vacated the portion of the

Defendants' judgments providing for restitution.
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      DATED this _ljl day ofNovember, 2016.
